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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    Chapter 11
    In re:
                                                                    Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1
                                                                    (Jointly Administered)
                              Debtors.



                                          AFFIDAVIT OF SERVICE

       I, Nelson Crespin, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        On September 25, 2024, at my direction and under my supervision, employees of Kroll
caused the following documents to be served by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A:

     •   Notice of Motion to Quash [Docket No. 25672] (the “Notice of Motion to Quash”)

     •   FTX Debtors’ Motion for Entry of an Order (A) Authorizing the FTX Debtors’ Entry
         Into, and Performance Under, the Global Settlement Agreement with the MDL Plaintiffs
         and MDL Counsel; (B) Approving the Global Settlement Agreement; and (C) Granting
         Related Relief [Docket No. 25683] (the “Motion for Entry of an Order”)

     •   Order Approving Stipulation [Docket No. 25684] (the “Order Approving Stipulation”)

       On September 26, 2024, at my direction and under my supervision, employees of Kroll
caused the Notice of Motion to Quash to be served via email on LayerZero Labs Ltd., C/O
Proskauer Rose LLP, William D. Dalsen, Genesis G. Sanchez Tavarez,
wdalsen@proskauer.com, gsancheztavarez@proskauer.com.

       At my direction and under my supervision, employees of Kroll caused the Motion of
Entry of an Order to be served by the date and method set forth on the MDL Counsel Parties
Service List attached hereto as Exhibit B.



1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.
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       At my direction and under my supervision, employees of Kroll caused the Order
Approving Stipulation to be served by the date and method set forth on the Notice Parties
Service List attached hereto as Exhibit C.

Dated: October 16, 2024
                                                            /s/ Nelson Crespin
                                                              Nelson Crespin
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on October 16, 2024, by Nelson Crespin, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ Cindy C. Hosein-Mohan
Notary Public, State of New York
No. 01HO6295177
Qualified in Nassau County
Commission Expires December 30, 2025




                                               2                                 SRF 82534
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                                                                                                                               Exhibit A
                                                                                                                         Core/2002 Service List
                                                                                                                        Served as set forth below


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                                                                                                                              Exhibit A
                                                                                                                        Core/2002 Service List
                                                                                                                       Served as set forth below


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                                                                                                                                 Exhibit A
                                                                                                                           Core/2002 Service List
                                                                                                                          Served as set forth below


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                                                                                                     Core/2002 Service List
                                                                                                    Served as set forth below


                                           DESCRIPTION                               NAME                                                 ADDRESS                                                 EMAIL                   METHOD OF SERVICE
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                                                                                      Core/2002 Service List
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                                                                                                                                    Exhibit B
                                                                                                                          MDL Counsel Parties Service List
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